Case 3:17-cv-00072-NKM-JCH Document 1542-1 Filed 03/03/22 Page 1 of 33 Pageid#:
                                   28065




               EXHIBIT A
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page12ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27937
                                    28066
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page23ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27938
                                    28067
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page34ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27939
                                    28068
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page45ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27940
                                    28069
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page56ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27941
                                    28070
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page67ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27942
                                    28071
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page78ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27943
                                    28072
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page89ofof32
                                                                       33 Pageid#:
                                                                           Pageid#:
                                    27944
                                    28073
Case
 Case3:17-cv-00072-NKM-JCH
       3:17-cv-00072-NKM-JCH Document
                              Document1542-1
                                       1527 Filed
                                             Filed 01/21/22
                                                   03/03/22 Page
                                                            Page 910ofof3233 Pageid#:
                                                                              Pageid#:
                                      27945
                                      28074
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page10
                                                                 11ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27946
                                     28075
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page11
                                                                 12ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27947
                                     28076
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page12
                                                                 13ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27948
                                     28077
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page13
                                                                 14ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27949
                                     28078
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page14
                                                                 15ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27950
                                     28079
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page15
                                                                 16ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27951
                                     28080
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page16
                                                                 17ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27952
                                     28081
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page17
                                                                 18ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27953
                                     28082
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page18
                                                                 19ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27954
                                     28083
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page19
                                                                 20ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27955
                                     28084
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page20
                                                                 21ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27956
                                     28085
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page21
                                                                 22ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27957
                                     28086
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page22
                                                                 23ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27958
                                     28087
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page23
                                                                 24ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27959
                                     28088
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page24
                                                                 25ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27960
                                     28089
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page25
                                                                 26ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27961
                                     28090
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page26
                                                                 27ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27962
                                     28091
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page27
                                                                 28ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27963
                                     28092
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page28
                                                                 29ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27964
                                     28093
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page29
                                                                 30ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27965
                                     28094
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page30
                                                                 31ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27966
                                     28095
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page31
                                                                 32ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27967
                                     28096
Case
 Case3:17-cv-00072-NKM-JCH
      3:17-cv-00072-NKM-JCH Document
                             Document1542-1
                                      1527 Filed
                                            Filed01/21/22
                                                  03/03/22 Page
                                                            Page32
                                                                 33ofof32
                                                                        33 Pageid#:
                                                                            Pageid#:
                                     27968
                                     28097
